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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           PINE BLUFF DIVISION

CHARLES E. HAMNER,
ADC #143063                                                               PLAINTIFF

V.                        CASE NO. 5:17-CV-79-JLH-BD

DANNY BURLS, et al.                                                    DEFENDANTS

                                       ORDER

      Mr. Hamner has filed a motion for service, requesting that the Court prepare

summonses for the Defendants. (Docket entry #8) On May 19, 2017, the Court directed

the Clerk to prepare summonses for the Defendants and those summonses were issued.

(#7) Therefore, Mr. Hamner’s motion (#8) is DENIED, as moot.

      IT IS SO ORDERED, this 24th day of May, 2017.


                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
